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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

In re:                                                      Case No. 12 B 41237
         Lincon Medina

                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

        Marilyn O. Marshall, chapter 13 trustee, submits the following Final Report and Account
of the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as
follows:

         1) The case was filed on 10/17/2012.

         2) The plan was confirmed on 04/30/2013.

       3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
04/30/2013, 09/30/2014.

       4) The trustee filed action to remedy default by the debtor in performance under the plan
on 01/16/2014, 06/26/2014.

         5) The case was Completed on 03/19/2018.

         6) Number of months from filing to last payment: 65.

         7) Number of months case was pending: 68.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: NA .

         10) Amount of unsecured claims discharged without payment: $122,933.99.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




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 Receipts:

           Total paid by or on behalf of the debtor                 $99,929.00
           Less amount refunded to debtor                                $0.02

 NET RECEIPTS:                                                                                         $99,928.98


 Expenses of Administration:

     Attorney’s Fees Paid Through the Plan                                      $3,510.50
     Court Costs                                                                    $0.00
     Trustee Expenses & Compensation                                            $4,133.85
     Other                                                                          $0.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                                       $7,644.35

 Attorney fees paid and disclosed by debtor:                       $350.00


 Scheduled Creditors:
 Creditor                                            Claim         Claim            Claim        Principal       Int.
 Name                                      Class   Scheduled      Asserted         Allowed         Paid         Paid
 American InfoSource LP as agent for   Unsecured         818.00        699.42           699.42           6.99        0.00
 Bank Of America                       Unsecured     15,984.00     15,984.41        15,984.41         159.84         0.00
 Becket & Lee                          Unsecured      2,863.00       2,863.47         2,863.47          28.63        0.00
 Becket & Lee                          Unsecured         946.00        946.46           946.46           9.46        0.00
 Chase                                 Unsecured      4,969.00            NA               NA            0.00        0.00
 Chase                                 Unsecured      1,356.00            NA               NA            0.00        0.00
 Chase                                 Unsecured      1,113.00            NA               NA            0.00        0.00
 Citibank NA                           Unsecured     19,902.00     20,069.52        20,069.52            0.00        0.00
 Cook County Treasurer                 Secured             0.00           NA               NA            0.00        0.00
 Department Stores National Bank       Unsecured         355.00        354.68           354.68           3.55        0.00
 Department Stores National Bank       Unsecured         622.00        622.45           622.45           6.22        0.00
 Discover Bank                         Unsecured      5,208.00       5,208.37         5,208.37          52.08        0.00
 Nationstar Mortgage LLC               Unsecured     69,703.00     59,200.16        59,200.16         592.00         0.00
 Nationstar Mortgage LLC               Secured       82,500.00    141,700.16        82,500.00      82,500.00    8,822.82
 Portfolio Recovery Associates         Unsecured      5,011.00       5,011.61         5,011.61          50.12        0.00
 Portfolio Recovery Associates         Unsecured      1,195.00       1,170.62         1,170.62          11.71        0.00
 RBS Citizens NA                       Unsecured      3,745.00       4,120.63         4,120.63          41.21        0.00
 Verizon Wireless/Great                Unsecured         206.00           NA               NA            0.00        0.00




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 Summary of Disbursements to Creditors:
                                                              Claim           Principal            Interest
                                                            Allowed               Paid                Paid
 Secured Payments:
       Mortgage Ongoing                                       $0.00              $0.00               $0.00
       Mortgage Arrearage                                     $0.00              $0.00               $0.00
       Debt Secured by Vehicle                                $0.00              $0.00               $0.00
       All Other Secured                                 $82,500.00         $82,500.00           $8,822.82
 TOTAL SECURED:                                          $82,500.00         $82,500.00           $8,822.82

 Priority Unsecured Payments:
        Domestic Support Arrearage                             $0.00              $0.00             $0.00
        Domestic Support Ongoing                               $0.00              $0.00             $0.00
        All Other Priority                                     $0.00              $0.00             $0.00
 TOTAL PRIORITY:                                               $0.00              $0.00             $0.00

 GENERAL UNSECURED PAYMENTS:                            $116,251.80            $961.81              $0.00


 Disbursements:

         Expenses of Administration                             $7,644.35
         Disbursements to Creditors                            $92,284.63

 TOTAL DISBURSEMENTS :                                                                     $99,928.98


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 06/25/2018                             By:/s/ Marilyn O. Marshall
                                                                     Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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